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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

TRUSTEES OF THE NATIONAL ELEVATOR
INDUSTRY PENSION FUND

19 Campus Boulevard, Suite 200

Newtown Square, PA 19073-3228,

TRUSTEES OF THE NATIONAL ELEVATOR
INDUSTRY HEALTH BENEFIT FUND

19 Campus Boulevard, Suite 200

Newtown Square, PA 19073-3228,

TRUSTEES OF THE NATIONAL ELEVATOR
INDUSTRY EDUCATIONAL FUND

19 Campus Boulevard, Suite 200

Newtown Square, PA 19073-3228,

TRUSTEES OF THE ELEVATOR INDUSTRY : COMPLAINT
WORK PRESERVATION FUND : CIVIL ACTION NO.
19 Campus Boulevard, Suite 200 :

Newtown Square, PA 19073-3228,

and

TRUSTEES OF THE ELEVATOR
CONSTRUCTORS ANNUITYAND
40108) RETIREMENT FUND

19 Campus Boulevard, Suite 200
Newtown Square, PA 19073-3228,

 

Plaintiffs,
v.
FULL CAPACITY, LLC
26-12 Borough Place, Suite 1
Woodside, NY 11377
Defendant.
COMPLAINT

(TO COMPEL A PAYROLL AUDIT AND FOR EQUITABLE RELIEF)
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Parties

1. The National Elevator Industry Pension Fund (“Pension Fund”) is a
multiemployer employee benefit plan as those terms are defined in Sections 3(3) and (37) of the
Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1002(3) and (37). The
Pension Fund was established and is maintained according to the provisions of its Restated
Agreement and Declaration of Trust. ‘The Pension Fund is administered at 19 Campus Boulevard,
Suite 200, Newtown Square, Pennsylvania 19073-3228. The Trustees are the designated
fiduciaries as defined in § 3(21) of ERISA, 29 U.S.C. § 1002(21).

2, The National Elevator Industry Health Benefit Fund (“Health Benefit Fund”) is a
multiemployer employee benefit plan as those terms are defined in Sections 3(3) and (37) of the
Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1002(3) and (37). The Health
Benefit Fund was established and is maintained according to the provisions of its Restated
Agreement and Declaration of Trust. The Health Benefit Fund is administered at 19 Campus
Boulevard, Suite 200, Newtown Square, Pennsylvania 19073-3228. The Trustees are the
designated fiduciaries as defined in § 3(21) of ERISA, 29 U.S.C. § 1002(21).

3. The National Elevator Industry Educational Fund (“Educational Fund”) is a
multiemployer employee benefit plan as those terms are defined in Sections 3(3) and (37) of the
Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1002(3) and (37). The
Educational Fund was established and is maintained according to the provisions of its Restated
Agreement and Declaration of Trust. The Educational Fund is administered at 19 Campus
Boulevard, Suite 200, Newtown Square, Pennsylvania 19073-3228. The Trustees are the

designated fiduciaries as defined in § 3(21) of ERISA, 29 U.S.C. § 1002(21).

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4, The Elevator Industry Work Preservation Fund (“Work Preservation Fund”) is a
labor-management cooperation committee as provided for in Section 302(c)(9) of the Taft-
Hartley Act, 29 U.S.C. § 186(c)(9), and Section 6 of the Labor-Management Cooperation Act of
1978, 29 U.S.C. § 175a. The Work Preservation Fund was established and is maintained
according to the provisions of its Restated Agreement and Declaration of Trust. The Work
Preservation Fund is administered at 19 Campus Boulevard, Suite 200, Newtown Square,
Pennsylvania 19073-3228.

5. The Elevator Constructors Annuity and 401(k) Retirement Fund (“Annuity 401(k)
Fund”) is a multiemployer employee benefit plan as those terms are defined in Sections 3(3) and
(37) of the Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1002(3) and (37).
The Annuity 401(k) Fund was established and is maintained according to the provisions of its
Restated Agreement and Declaration of Trust. The Annuity 401(k) Fund is administered at 19
Campus Boulevard, Suite 200, Newtown Square, Pennsylvania 19073-3228. The Trustees are
the designated fiduciaries as defined in § 3(21} of ERISA, 29 U.S.C. § 1002(21).

6. Full Capacity, LLC is a New York business existing under New York laws with
offices located at 26-12 Borough Place, Suite 1, Woodside, NY 11377.

7. Full Capacity, LLC transacts business in New York as a contractor or
subcontractor in the elevator industry and at all relevant times herein was an “employer in an
industry affecting commerce” as defined in Sections 3(5), (9), (11), (12) and (14) of ERISA, 29
U.S.C. §§ 1002(5), (9), (11), (12) and (14); and Section 3 of the Multiemployer Pension Plan

Amendments Act of 1980, 29 U.S.C. § 1001a.
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8. At all relevant times, Full Capacity, LLC was a signatory and bound to the
Agreements between the IUEC and the National Elevator Bargaining Association (“Collective
Bargaining Agreements”) by virtue of its Short Form Agreement.

9, During the period of January 2017 to the present, the Defendant employed
employees performing work covered by the Collective Bargaining Agreement.

Jurisdiction

10. ‘This Court has jurisdiction of this action under Section 502 of ERISA, 29 ULS.C. §§
1132, and supplemental jurisdiction for any state law claims under 28 U.S.C. Section 1367{a). This
is an action to compel an audit and for equitable relief.

11. | Venue proper in this district pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §
1132(e), as it is the district in which Plaintiffs are located and administered.

12. This Court has personal jurisdiction over the Defendant pursuant to Section
502(e)(2) of ERISA, 29 ULS.C, § 1132(e)(2).

COUNT I

(TO COMPEL A PAYROLL AUDIT)

13. An audit of Defendant Full Capacity LLC’s records ftom January 1, 2017, to the
date the audit can be completed, will permit the Plaintiffs to determine whether the Defendant is
properly reporting the correct number of employees working under the Collective Bargaining
Agreement, the correct number of hours worked by the employees, the correct contribution rates

and the correct amounts owed to each of the Plaintiffs.
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14. The Defendant Full Capacity LLC has refused requests to cooperate in a payroll
audit conducted on behalf of the Plaintiffs by the certified public accounting firm of Daniel A.
Winters & Co.

15. Pursuant to the Defendant Full Capacity LLC’s Short Form Agreement, the
Defendant is a party to and bound by the terms and conditions of the Plaintiffs’ Restated
Agreements and Declarations of Trust.

16. Under the terms of the Short Form Agreement and Plaintiffs’ Restated
Agreements and Declarations of Trust, and Section 502(a)(3) of ERISA, 29 ULS.C. § 1132(a)(3),
and Central States Pension Fund v. Central Transport, Inc., 472 U.S, 559 (1985), the Plaintiffs
are entitled to obtain and conduct an audit of Full Capacity LLC’s payroll and related records
and an employer is obligated to submit to a payroll compliance review conducted by the
Plaintiffs.

17. ‘Plaintiffs will seek a judgment in this action against the Defendants for all
contributions, interest, liquidated damages and attorneys’ fees and costs which are discovered to
be due as a result of the audit.

WHEREFORE, the Plaintiffs pray judgment on Count I as foliows:

1. For a Court Order requiring the Defendant Full Capacity, LLC to submit all payroll books
and records to the Plaintiffs, and to cooperate with the Plaintiffs’ designee, the certified
public accounting firm of Daniel A. Winters & Co., to complete a payroll compliance
review, at the Defendant’s expense, for the period of January 1, 2017, through the date
the audit can be conducted;

2, That the Court find Defendant Full Capacity, LLC liable for all amounts owed to the

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Plaintiffs under the Collective Bargaining Agreement as a result of the audit;
3. To enter judgment against the Defendant Full Capacity, LLC in the amount of reasonable
attorney’s fees and costs incurred by the Plaintiffs in bringing this action;

4, For such further relief as the Court may deem appropriate.

wihf, submitted,
DATE: January 22, 2020 WW) §

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